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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                            § No. 4:18CR190
   v.         §     Judge                    Crone
                                            §
   STEPHEN CHASE CLARK §

                                      FACTUAL BASIS

         The defendant, Stephen Chase Clark, stipulates and agrees that the following

  facts are true and correct:

         1. The defendant, Stephen Chase Clark (Clark), who is changing his plea to

  guilty, admits that he is the individual charged in the Indictment.

         2. As charged in Count One of the Indictment, between on or about August

  27, 2018, and on or about August 28, 2018, in the Easte District of Texas, Clark did

  knowingly attempt to persuade, induce, entice, or coerce a minor to engage in sexual

  activity.

         3. Specifically, on August 27,2018, Clark contacted an individual he

  believed to be a teenaged male on a social media application. During the

  communications, Clark repeatedly asked for photographs of the male, both in his

  underwear and nude (i.e., photographs of the male s genitals). Clark asked for

  information about the individual, including his age, who he lived with, and the town in

  which he lived.

         4. At the time of his communications, Clark believed that he was

  communicating with and would meet a male child under the age of 18-years old for
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  sexual activity and, in fact, t at the child had not yet attained the age of 14-years old.

  Upon learning that the individual with whom he was communicating was a child, Clark

  stated that the minor male s age was dope and cool, asking which school the minor

  male attended and about his prior sexual e periences.

         5. Clark engaged in sexually explicit online and cellular communications

  with an individual he believed to be a minor, during which Clark expressed a desire to

  engage in oral and anal intercourse with the minor male. Specifically Clark stated that

  he wanted to “breed” and “face fuck the minor male and that he would take steps to

  minimize any pain or discomfort to the child.

         6. Clark admits that had he engaged in oral and anal intercourse with a minor

  under the age of 14-years old, he could have been charged with violations of the laws of

  the State of Texas, including Aggravated Sexual Assault, Texas Penal Code § 22.021.

         7. Clark further admits that he traveled to a public area, located within

  McKinney, Collin County, Texas, on August 28, 2018, in order to meet a minor male

  with the intention of engaging in illegal se ual activity with the minor male.

         8. As charged in Count Two of the Indictment, on or about April 30, 2018, in

  the Eastern District of Texas, Clark did knowingly receive child pornography that had

  been shipped and transported using any means and facility of interstate and foreign

  commerce, and that had been shipped and transported in and affecting interstate and

  foreign commerce by any means, including by computer.




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                Specifically, Clark knowingly received files of child pornography using

  the Internet, a messaging application, and a Samsung Galaxy S9+ cellular phone.

  Included among the files Clark received were the following:

              FILE NAME                                     DESCRIPTION
    ddb8760e-7c7b-45f4-abb5-3 .mp4        This is the first part of a three-part video. The
                                          video depicts an adult male who carries a
                                          prepubescent male infant to a bed, lays the child
                                          down, and begins to penetrate the child s anus
                                          with his penis.
    794879db-db36-4fal-8931-a.mp4         This is the second part of a three-part video.
                                          This video depicts the adult male penetrating the
                                          anus of a prepubescent male infant with his penis
                                          while positioned over the child. The man then
                                          moves behind the child and continues
                                          penetrating his anus while holding his legs.
    cl726ca6-5684-4a4a-9198-0.mp4         This is the third part of a three-part video. In the
                                          last video, the adult male ejaculates on the
                                          prepubescent male infant, cleans the child, then
                                          allows the child to crawl away, exposing his anus
                                          and genitals to the camera.


   | 0 Clark knew that the images and videos he received, distributed, and

  possessed depicted children engaged in sexually explicit conduct and did constitute child

  pornography. Clark also knew that he received, distributed, and possessed more than

  600 images and videos of child po ography, including files depicting prepubescent

  minors, depictions of the sexual exploitation of infants or toddlers, and depictions of

  sadistic or masochistic abuse.

    11 Clark admits that he committed the offenses described in the Indictment at

  locations, including his home, in McKinney, Collin County, Texas within the Eastern

  District of Texas.

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           1/
                  Clark used the following computer equipment to attempt to coerce and

  entice a minor to engage in illegal sexual activity, as well we to receive, distribute, and

  possess images and videos of child pornography:

                  a. Samsung Galaxy S9+ cellular phone, model number SM-G965U and
                        bearing IMEI number 353322091333139.

                  Clark acknowledges that the Internet is a means and facility of interstate

  and foreign commerce. Moreover, the social media and messaging applications Clark

  utilized a e both Internet-based. Clark furthe acknowledges that his Samsung Galaxy

  S9+ cellular phone was not made in Texas and was therefore itself transported in

  interstate and foreign commerce.

                SIGNATURE AND ACKNOWLEDGMENT BY DEFENDANT
                            STEPHEN CHASE CLARK

           I have read this Factual Basis and have discussed it with my atto ey. I fully
  understand the contents of this Factual Basis and agree without reservation that it
  accurately describes my acts.

  Dated:                               <        ~j{             f     ff
                     f STEPHEN CHASE CLARK
                                             Defendant

  SIGNATURE AND ACKNOWLEDGMENT BY ATTORNEY FOR DEFENDANT
          I have read this Factual Basis and the Indictment and have reviewed them with my
  client. Based upon my discussions with my client, I am satisfied that my client fully
  understands the Factual Basis.



  Dated:
                                             TODD D. SHAPIRO
                                             Atto ey for the defendant




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